                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                 GREENEVILLE DIVISION

  UNITED STATES OF AMERICA                            )
                                                      )
         v.                                           )              2:20-CR-065
                                                      )              JUDGE GREER
  EMORY Q. JACKSON                                    )


  TO THE HONORABLE JUDGE OF THE ABOVE COURT:

              PETITION FOR WRIT OF HABEAS CORPUS AD TESTIFICANDUM

         Your petitioner, the United States of America, by and through Francis M. Hamilton III,

  Acting United States Attorney for the Eastern District of Tennessee, respectfully shows:

         That a Jury Trial is to be convened in the United States District Court for the Eastern

  District of Tennessee, at Greeneville, Tennessee, on September 7, 2021 at 9:00 a.m., and that

  JOSHUA ANDERSON is a material witness for the Government in matters to be presented to

  the said United States District Court. That JOSHUA ANDERSON is in the custody of the

  Washington County Detention Center, at Jonesborough, Tennessee.

         WHEREFORE, petitioner prays that the Clerk of this Court be instructed to issue a Writ

  of Habeas Corpus Ad Testificandum to the Sheriff, Washington County Detention Center, at

  Jonesborough, Tennessee, commanding him/her to produce said JOSHUA ANDERSON, before

  this Court to testify in matters to be presented to said United States District Court and to be

  returned to the Sheriff, Washington County Detention Center, at Jonesborough, Tennessee, as

  soon as he is no longer needed as a witness before said United States District Court. If the

  Sheriff, Washington County Detention Center, at Jonesborough, Tennessee, so elects, the United

  States Marshal for the Eastern District of Tennessee, or any other duly authorized United States

  Marshal or Deputy United States Marshal, be ordered and directed to receive said JOSHUA




Case 2:20-cr-00065-JRG-CRW Document 111 Filed 08/16/21 Page 1 of 2 PageID #: 358
  ANDERSON, into his custody and possession at said Washington County Detention Center, at

  Jonesborough, Tennessee, and under safe and secure conduct to have him before this Court and

  the said United States District Court at the time and place aforesaid, under safe and secure

  conduct, and redeliver him to the Sheriff, Washington County Detention Center, at

  Jonesborough, Tennessee, as aforesaid.


                                                   FRANCIS M. HAMILTON III
                                                   Acting United States Attorney

                                            By:     s/ Meghan L. Gomez
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Case 2:20-cr-00065-JRG-CRW Document 111 Filed 08/16/21 Page 2 of 2 PageID #: 359
